                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WISCONSIN
                                 EASTERN DIVISION

       UNITED STATES OF AMERICA                    )
                                                   )       No. 16 CR 095
             vs.                                   )
                                                   )       Hon. William C. Griesbach
                                                   )
       CHARLES R. SZYMAN                           )

                            POTENTIAL WITNESS LIST

   NOW COMES the Defendant, CHARLES SZYMAN (“Dr. Szyman”), through his

attorney, BEAU B. BRINDLEY, and gives notice that the following witnesses may be

called on his behalf during his trial. By providing this list, Dr. Szyman does not commit

himself to calling every witness and he reserves the right to supplement this list if

necessary.


       1. Linda Kramer

       2. Evelyn Glaser

       3. Linda Mott

       4. Nancy Gagnon

       5. Jerry L. Williams

WHEREFORE, Dr. Szyman prvides this list of potential witnesses,



                                                                 Respectfully submitted,

                                                                     s/ Beau B, Brindley
                                                                 s/ Michael J. Thompson




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Beau B. Brindley
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(312) 765-8878




                            CERTIFICATE OF SERVICE

       The undersigned, an attorney, certifies that he caused a true and correct copy of

the attached POTENTIAL WITNESS LIST served upon the government by

electronically serving it through the CM/ECF system on November 10, 2017.



s/ Beau B. Brindley
Attorney for Defendant
Charles Szyman

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